USDC IN/ND case 1:03-cr-00053-HAB-SLC              document 351        filed 06/02/08     page 1 of 3


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )      CAUSE NO.: 1:03-CR-53-TS
                                               )
 LAVONTE NUNNALLY                              )

                                     OPINION AND ORDER

          After adjudicating the Defendant, Lavonte Nunnally, guilty upon his plea of guilty to

 violations of 21 U.S.C. § 846 and 18 U.S.C. § 2, and 21 U.S.C. § 841(a)(1), the Court sentenced

 him pursuant to 21 U.S.C. § 841(b)(1)(B) and the United States Sentencing Guidelines that were

 in effect on the date of his sentencing, August 5, 2005. On February 22, 2008, this Court granted

 the Defendant’s request for the appointment of counsel in connection with possible resentencing

 under the amended cocaine base guidelines [DE 323]. The Court’s order directed the Defendant,

 his counsel, the government, and the United States Probation Office on the procedure that would

 govern the Court’s determination whether the Defendant was entitled to a reduction in his

 sentence pursuant to guideline § 1B1.10, as amended effective March 3, 2008.

          On March 18, the Defendant’s court-appointed counsel filed a notice explaining that a

 reduction in the Defendant’s sentence is not appropriate because his offense level is dictated by

 the guideline provision that applies to career offenders, and his offense level remains unchanged

 under the crack amendments. In conjunction with that Notice, the Defendant’s attorney also

 moved to withdraw as court-appointed counsel [DE 326] as directed by the Court’s February 22

 order.

          Pursuant to the order, if counsel moves to withdraw, “[t]he Defendant then has 30 days to

 file a response, pro se, to counsel’s notice and request to withdraw, and a pro se motion for
USDC IN/ND case 1:03-cr-00053-HAB-SLC                 document 351     filed 06/02/08     page 2 of 3


 reduction of sentence.” (DE 323 at 2.) “The Court will then rule on counsel’s request to

 withdraw, and on any pro se motion that the Defendant filed.” (DE 323 at 2.)

        On April 2, 2008, the Defendant filed a pro se motion for reduction of sentence [DE 327]

 and on May 1, 2008, filed a brief in support of his motion [DE 341]. The Defendant argues that

 this Court is authorized to consider reducing his sentence consistent with 18 U.S.C. § 3582(c)(2),

 Amendment No. 706, and 18 U.S.C. § 3553(a). The Defendant submits that the Court is not

 bound by the career offender guidelines. The Defendant then presents argument against the 100

 to 1 powder cocaine to crack ratio in support of his claim that his sentence is no longer supported

 by any rational penological objective.

        On May 14, 2008, the government filed a response to the Defendant’s motion [DE 347].

 The government states that it agrees with the reasoning set forth in defense counsel’s Notice that,

 because the Defendant was sentenced as a career offender and because his final adjusted

 guideline range is unaffected by the retroactive amendment to U.S.S.G. § 2D1.1, the Defendant’s

 motion for retroactive application of the sentencing guidelines to crack cocaine offenses should

 be denied.

        Counsel’s Notice and his Motion to Withdraw are well taken. The Defendant’s guideline

 range of imprisonment before the amendments was 262 to 327 months imprisonment for his base

 offense level of 34 and criminal history category of VI. The career offender provision of the

 guidelines applied to the Defendant and resulted in a base offense level higher than that specified

 in the drug quantity table. See U.S.S.G. § 4B1.1 (setting base offense level before reduction for

 acceptance of responsibility at 37). However, the Defendant still received the benefit of a three-

 point reduction for acceptance of responsibility and the benefit of the government’s motion for a


                                                  2
USDC IN/ND case 1:03-cr-00053-HAB-SLC                 document 351      filed 06/02/08     page 3 of 3


 two-level downward departure. The Court sentenced the Defendant to 210 months imprisonment.

        Under the amended guidelines, the career offender provision of § 4B1.1 still applies.

 Thus, the Defendant’s base offense level remains at 34 and his criminal history category is still

 VI, which corresponds to a guideline range of 262 to 327 months. Therefore, the amendments do

 not have the effect of lowering the Defendant’s sentencing range, and a reduction would not be

 consistent with the applicable policy statements issued by the Sentencing Commission or with

 the factors set forth in § 3553(a). The Defendant is not entitled to a reduction of his sentence

 pursuant to 18 U.S.C. § 3582(c)(2).



                                  CONCLUSION AND ORDER

        For the foregoing reasons, the Motion to Withdraw as Court Appointed Counsel

 [DE 326] is GRANTED and attorney Thomas N. O’Malley is allowed to withdraw as attorney of

 record in this cause of action. The Defendant’s pro se motion [DE 327] seeking a reduction of

 his sentence pursuant to 18 U.S.C. § 3582 is DENIED.

        SO ORDERED on June 2, 2008.

                                               s/ Theresa L. Springmann
                                               THERESA L. SPRINGMANN
                                               UNITED STATES DISTRICT COURT




                                                  3
